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                                  1                               UNITED STATES DISTRICT COURT
                                  2                              CENTRAL DISTRICT OF CALIFORNIA

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                                  5        Mobilize the Message LLC et al.,
                                  6                                                  Case No. 2:21-cv-05115-VAP-JPRx
                                                          Plaintiffs,
                                  7                       v.                            Order DENYING Motion for
                                  8        Rob Bonta,
                                                                                       Preliminary Injunction (Dkt. 9)
                                  9                       Defendant.
                                 10
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United States District Court




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                                 12          Before the Court is Plaintiffs’ Mobilize the Message, LLC, Moving
                                 13   Oxnard Forward, Inc., and Starr Coalition for Moving Oxnard Forward
                                 14   (“Plaintiffs”) Motion for Preliminary Injunction. (Dkt. 9). After considering all
                                 15   the papers filed in support of, and in opposition to, the Motion, as well as the
                                 16   arguments advanced at the hearing conducted on August 2, 2021, the Court
                                 17   DENIES the Motion.
                                 18
                                 19                                I.    BACKGROUND
                                 20   A.     Assembly Bill 5
                                 21          This case challenges Assembly Bill 5 (“AB 5”), codified at Cal. Labor
                                 22   Code § 2775(b)(1), a California law pertaining to the classification of
                                 23   employees and independent contractors.
                                 24
                                 25          In 2018, the California Supreme Court in Dynamex Operations W. v.
                                 26   Superior Court, 4 Cal. 5th 903, 916 (2018), held that courts should apply a

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                                  1   three-part test, the “ABC Test”, to determine whether a worker is properly
                                  2   classified as an employee for certain purposes. Prior to 2018, California’s
                                  3   test for classifying workers as either employees or independent contractors
                                  4   was set forth, for all purposes, in S.G. Borello & Sons, Inc. v. Dep’t of Indus.
                                  5   Relations, 48 Cal. 3d 341 (1989). The ABC Test classifies workers as
                                  6   employees unless an employer establishes:
                                  7
                                  8         (A) that the worker is free from the control and direction of the hiring
                                  9         entity in connection with the performance of the work, both under the
                                 10         contract for the performance of the work and in fact;
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                                 11
                                 12         (B) that the worker performs work that is outside the usual course of
                                 13         the hiring entity's business; and
                                 14
                                 15         (C) that the worker is customarily engaged in an independently
                                 16         established trade, occupation, or business of the same nature as that
                                 17         involved in the work performed.
                                 18
                                 19   Cal. Labor Code § 2775(b)(1). On September 18, 2019, the California
                                 20   Legislature codified the ABC test adopted in Dynamex by enacting AB 5.
                                 21   See A.B. 5, Ch. 296, 2019–2020 Reg. Sess. (Cal. 2019) (“AB 5”); Cal. Labor
                                 22   Code § 2775(b)(1).
                                 23
                                 24         Under AB 5, the ABC test is the standard used for ascertaining
                                 25   whether a worker is an employee. The law nevertheless creates certain
                                 26   exceptions for categories of workers that remain subject to the multi-factor

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                                  1   “Borello” standard. As relevant here, workers that fall within such
                                  2   exceptions include “[a] direct sales salesperson as described in Section 650
                                  3   of the Unemployment Insurance Code so long as the conditions for
                                  4   exclusion from employment under that section are met.” Cal. Labor Code §
                                  5   2783(e). Per that provision, “‘[e]mployment’ does not include services
                                  6   performed as a . . . direct sales salesperson . . . by an individual” if “[t]he
                                  7   individual . . . is engaged in the trade or business of primarily in person
                                  8   demonstration and sales presentation of consumer products, including
                                  9   services or other intangibles, in the home . . . or otherwise than from a retail
                                 10   or wholesale establishment….” Cal. Unemp. Ins. Code § 650. Newspaper
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                                 11   distributors and carriers are also exempted from the ABC test and are
                                 12   instead subject to Borello. Cal. Labor Code § 2783(h)(1).
                                 13
                                 14   B.    Plaintiffs and the Alleged Burden of AB 5
                                 15         Plaintiff Mobilize the Message, LLC (“MTM”) hires "doorknockers" to
                                 16   canvass neighborhoods and personally engage voters in the residence on
                                 17   behalf of its client campaigns. MTM also hires signature gatherers to
                                 18   persuade voters, at their residence and in public places, to sign petitions
                                 19   that would qualify measures for the ballot.
                                 20
                                 21         Plaintiff Moving Oxnard Forward, Inc., (“MOF”), a California nonprofit
                                 22   corporation dedicated to improving the city of Oxnard, maintains a political
                                 23   action committee, Plaintiff Starr Coalition for Moving Oxnard Forward (“Starr
                                 24   Coalition”), that creates, qualifies, and works to enact ballot measures in
                                 25   Oxnard’s municipal elections.
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                                  1         Prior to AB 5’s enactment, MTM provided its services in California.
                                  2   MTM abandoned the California market upon AB 5’s enactment because,
                                  3   inter alia, it could not afford the administrative expenses of hiring its
                                  4   independent contractors as employees.
                                  5
                                  6         MOF and Starr Coalition claim that they intend to participate in
                                  7   Oxnard’s 2022 municipal elections which require signature gathering for the
                                  8   ballots to begin now. Plaintiffs nevertheless refrain from hiring their
                                  9   doorknockers and signature gatherers as employees because they claim it
                                 10   is unfeasible for them to do so under the current regulatory scheme.
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                                 12   C.    Procedural Background
                                 13         On June 23, 2021, Plaintiffs filed this lawsuit against Defendant Rob
                                 14   Bonta, in his official capacity as Attorney General of California (“Defendant”),
                                 15   arguing that AB 5 discriminates against speech based on its content. (See
                                 16   Dkt. 1, at 13). Specifically, Plaintiffs contend that California favors
                                 17   commercial speech over political speech because AB 5 exempts certain
                                 18   workers, such as newspaper deliverers and cosmetics salespersons, from
                                 19   being classified as employees whereas signature gatherers and
                                 20   doorknockers for political campaigns are considered employees under the
                                 21   current framework. (See id.) According to Plaintiffs, “[b]y classifying
                                 22   doorknockers per the ABC test, while classifying direct salespersons,
                                 23   newspaper distributors, and newspaper carriers per Borello, Defendant,
                                 24   under color of law deprives Plaintiffs … of their right of free speech
                                 25   guaranteed by the First and Fourteenth Amendment.” (Dkt. 1).
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                                  1          On June 24, 2021, Plaintiffs filed the instant Motion asking the Court
                                  2   to enjoin Defendant from applying the ABC Test to classify Plaintiffs’
                                  3   doorknockers and signature gatherers as employees. Defendant filed an
                                  4   Opposition to the Motion on July 12, 2021. (Dkt. 20). Plaintiffs filed a Reply
                                  5   on July 19, 2021. (Dkt. 21).
                                  6
                                  7                              II.          LEGAL STANDARD
                                  8          “A preliminary injunction is an extraordinary and drastic remedy ...; it
                                  9   is never awarded as of right.” Munaf v. Green, 553 U.S. 674, 689-90 (2007)
                                 10   (citations omitted). “A plaintiff seeking a preliminary injunction must
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                                 11   establish that he is likely to succeed on the merits, that he is likely to suffer
                                 12   irreparable harm in the absence of preliminary relief, that the balance of the
                                 13   equities tips in his favor, and that an injunction is in the public interest.”
                                 14   Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20 (2008).
                                 15   In this Circuit, a plaintiff may obtain a preliminary injunction upon a lesser
                                 16   showing of the merits if the balance of hardships tips “sharply” in his favor,
                                 17   and he has satisfied the other two Winter requirements. See Alliance for the
                                 18   Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011).
                                 19
                                 20                                    III.     DISCUSSION
                                 21          As discussed below, Plaintiffs fail to satisfy the requirements set forth
                                 22   in Winter for injunctive relief.
                                 23
                                 24          1.     Likelihood of Success on the Merits
                                 25          The Court finds that Plaintiffs have failed to establish a likelihood of
                                 26   success on the merits. “Likelihood of success on the merits is ‘the most

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                                  1   important factor’ in determining whether interim, injunctive relief is
                                  2   warranted.” Environmental Protection Information Ctr. v. Carlson, 968 F.3d
                                  3   985, 989 (9th Cir. 2020). “Because it is a threshold inquiry, when a plaintiff
                                  4   has failed to show the likelihood of success on the merits, we need not
                                  5   consider the remaining three Winter elements.” Al-Nasser v. Serdy, No.
                                  6   2:20CV03582 ODW (Ex), 2020 WL 3129206, at *2 (C.D. Cal. June 12,
                                  7   2020) (citing Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015)).
                                  8
                                  9         Plaintiffs allege two claims against Defendant, arguing that the
                                 10   application of the ABC Test violates the First Amendment as applied to their
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                                 11   doorknockers and signature gatherers. Plaintiffs have not satisfied their
                                 12   burden of showing they are likely to succeed on either claim.
                                 13
                                 14                A.     First Amendment
                                 15         If a law “imposes content-based restrictions on speech, those
                                 16   provisions can stand only if they survive strict scrutiny.” Reed v. Town of
                                 17   Gilbert, Ariz., 135 S. Ct. 2218, 2231 (2015); Turner Broad. Sys., Inc. v.
                                 18   F.C.C., 512 U.S. 622, 642 (1994) (“Our precedents thus apply the most
                                 19   exacting scrutiny to regulations that suppress, disadvantage, or impose
                                 20   differential burdens upon speech because of its content.”). By contrast,
                                 21   “regulations that are unrelated to the content of speech are subject to an
                                 22   intermediate level of scrutiny.” Turner, 512 U.S. at 642. “[R]estrictions on
                                 23   protected expression are distinct from restrictions on economic activity or,
                                 24   more generally, on nonexpressive conduct ... [T]he First Amendment does
                                 25   not prevent restrictions directed at commerce or conduct from imposing
                                 26   incidental burdens on speech.” Int'l Franchise Ass'n, Inc. v. City of Seattle,

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                                  1   803 F.3d 389, 408 (9th Cir. 2015) (quoting Sorrell v. IMS Health Inc., 564
                                  2   U.S. 552, 565 (2011)). The question is whether there is conduct with a
                                  3   “significant expressive element that drew the legal remedy in the first place”
                                  4   or the statute has the “inevitable effect of singling out those engaged in
                                  5   expressive activity.” Arcara v. Cloud Books, Inc., 478 U.S. 697, 706–07
                                  6   (1986). “[G]enerally applicable economic regulations [affecting] rather than
                                  7   targeting news publications” pass constitutional muster. Interpipe
                                  8   Contracting, Inc. v. Becerra, 898 F.3d 879, 896 (9th Cir. 2018) (generally
                                  9   applicable wage law targeting employer use of employee wages regulated
                                 10   conduct and was not subject to First Amendment scrutiny).
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                                 12         Plaintiffs contend that AB 5 imposes content-based restrictions and
                                 13   thus is subject to strict scrutiny. The Court disagrees.
                                 14
                                 15         Here, the challenged exemptions in AB 5 are neither content-based
                                 16   nor otherwise require heightened scrutiny. As other courts in this circuit
                                 17   have held, “AB 5 applies a particular test to determine if a worker is
                                 18   considered an ‘employee’ as opposed to an ‘independent contractor,’ to the
                                 19   Labor Code … [i]t is thus directed at economic activity generally [and] does
                                 20   not directly regulate or prohibit speech.” See Am. Soc'y of Journalists &
                                 21   Authors, Inc. v. Becerra, No. CV1910645 PSG (KSx), 2020 WL 1444909, at
                                 22   *7 (C.D. Cal. Mar. 20, 2020), appeal dismissed, No. 20-55408, 2020 WL
                                 23   6075667 (9th Cir. Aug. 20, 2020).
                                 24
                                 25         Plaintiffs nevertheless argue at length that AB 5 makes distinctions
                                 26   between speakers’ messages, such as between newspaper deliverers and

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                                  1   campaign signature gatherers, and therefore expresses a content
                                  2   preference. See Dkt. 9-1, at 11-12 (“The regulatory scheme, on its face,
                                  3   implicates Plaintiffs’ political speech. Their workers are subject to the ABC
                                  4   test for all purposes … [y]et other workers, who knock on the same doors
                                  5   and walk the same streets to speak to the same people and deliver them
                                  6   papers, are classified as independent contractors per Borello. The
                                  7   distinctions? Rather than talk politics, these workers perform ‘in person
                                  8   demonstration[s] and sales presentation[s].’”). Indeed, Plaintiffs contend
                                  9   that state investigators would need to examine the “worker’s message to
                                 10   see if [an] exception applied.” These arguments are unpersuasive.
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                                 12         “There is no indication that AB 5 reflects preference for the substance
                                 13   or content of what certain speakers have to say, or aversion to what other
                                 14   speakers have to say.” Am. Soc'y of Journalists & Authors, Inc., 2020 WL
                                 15   1444909, at *8. Rather, as Defendant points out, the distinctions between
                                 16   cosmetics salespersons and campaign signature gatherers or doorknockers
                                 17   under AB 5 are based on the worker’s occupation. The distinctions based
                                 18   on the types of products sold or services rendered are directly related to the
                                 19   occupation or industry of a worker as opposed to the statements the worker
                                 20   uses to sell such goods or perform such services. Courts in this circuit have
                                 21   held the same and have reasoned that “[t]he justification for these
                                 22   distinctions is proper categorization of an employment relationship,
                                 23   unrelated to the content of speech.” (Id.; see also Crossley v. California, 479
                                 24   F. Supp. 3d 901, 916 (S.D. Cal. Aug. 17, 2019)). The Court sees no reason
                                 25   to reach a different result here. (Id.)
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                                  1         Plaintiffs’ attempt to distinguish these cases is unpersuasive. Notably,
                                  2   Plaintiffs argue Crossley is inapposite because that court “plainly erred in
                                  3   describing AB 5 as ‘a generally applicable law that regulates the
                                  4   classification of employment relationships across the spectrum and does not
                                  5   single out any profession or group of professions.’” (Dkt. 9-1, at 17). The
                                  6   Court disagrees. Plaintiffs’ conclusory statement is unsupported as they
                                  7   have failed to point to any facts suggesting that AB 5 favors commercial
                                  8   speech over political speech due to its exemptions.
                                  9
                                 10         The Court agrees with the courts in this circuit that have found AB 5 to
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                                 11   be a generally applicable law that regulates classifications of employment
                                 12   relationships by industry as opposed to speech. Plaintiffs’ argument that the
                                 13   content of what a worker says will determine whether an AB 5 exemption
                                 14   applies in this context lacks merit. The more sensible interpretation is that
                                 15   the distinctions hinge on the worker’s industry regardless of speech. While
                                 16   some of AB 5’s exemptions arguably may have been arbitrarily designed or
                                 17   are the result of political motives, “[a]ccommodating one interest group is
                                 18   not equivalent to intentionally harming another.” Gallinger v. Becerra, 898
                                 19   F.3d 1012, 1021 (9th Cir. 2018). Accordingly, Plaintiffs have failed to show
                                 20   that strict scrutiny applies.
                                 21
                                 22         Plaintiffs do not argue whether AB 5 could pass the lesser rational
                                 23   based review. (See Dkt. 9-1, at 18 (“Plaintiffs would disagree that AB 5
                                 24   could pass even rational basis review, but that is not the test here.”)). Given
                                 25   that Plaintiffs have only argued the strict scrutiny portion of the analysis that
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                                  1   the Court rejects, Plaintiffs have failed to satisfy their heavy burden of
                                  2   showing they are likely to succeed on their First Amendment Claims.
                                  3
                                  4         2.     Irreparable Harm
                                  5         Although it need not address this factor, the Court notes that Plaintiffs
                                  6   also fail to show the need for emergency injunctive relief to prevent
                                  7   immediate and irreparable harm. Al-Nasser v. Serdy, No. 220CV03582
                                  8   ODW (Ex), 2020 WL 3129206, at *2 (C.D. Cal. June 12, 2020) (citing Garcia
                                  9   v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015)) (“Because it is a threshold
                                 10   inquiry, when a plaintiff has failed to show the likelihood of success on the
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                                 11   merits, we need not consider the remaining three Winter elements.”). “An
                                 12   essential prerequisite to the granting of a preliminary injunction is a showing
                                 13   of irreparable injury to the moving party in its absence.” Dollar Rent A Car of
                                 14   Washington, Inc. v. Travelers Indem. Co., 774 F.2d 1371, 1375 (9th Cir.
                                 15   1985).
                                 16
                                 17         As Defendant notes, AB 5 was signed into law in September 2019.
                                 18   Nevertheless, Plaintiffs waited until June 2021, nearly two years later, to
                                 19   bring their claims regarding AB 5’s exemptions. Plaintiffs admit that they
                                 20   halted all operations in California after AB 5’s implementation and have thus
                                 21   been impacted by the regulation long before this year. Although Plaintiffs
                                 22   now claim there is urgency given the upcoming 2022 elections, Plaintiffs
                                 23   have failed to explain their delay in seeking their requested relief for a
                                 24   declaration that AB 5 should not apply to their workers.
                                 25
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                                  1         Although a delay in filing for injunctive relief is not determinative, it
                                  2   “implies a lack of urgency and irreparable harm.” See Vital Pharms., Inc. v.
                                  3   PhD Mktg., Inc., No. 220CV06745 RSWL (JCx), 2020 WL 6545995, at *8
                                  4   (C.D. Cal. Nov. 6, 2020) (citing to Cuviello v. City of Vallejo, 944 F.3d 816,
                                  5   833 (9th Cir. 2019) (citations omitted); see also Dahl v. Swift Distrib., Inc.,
                                  6   No. CV 10-00551 SJO (RZx), 2010 WL 1458957, at *3 (C.D. Cal. Apr. 1,
                                  7   2010) (noting that an “unexplained delay ... undercuts a claim that an
                                  8   injunction is necessary to prevent immediate and irreparable injury”)). Here,
                                  9   Plaintiffs’ two-year delay in filing this Motion weighs against irreparable
                                 10   harm. See id. (citing to AK Metals, LLC v. Norman Indus. Materials, Inc., No.
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                                 11   12cv2595-IEG (WVG), 2013 WL 417323, at *10 (S.D. Cal. Jan. 31, 2013)
                                 12   (“Plaintiff's [two-month] delay in filing the motion ... weighs against the
                                 13   immediacy of the harm.”)).
                                 14
                                 15                                IV.    CONCLUSION
                                 16         For the foregoing reasons, the Court finds that Plaintiffs have not
                                 17   satisfied their heavy burden of establishing they are entitled to the
                                 18   extraordinary remedy of a preliminary injunction. Accordingly, the Court
                                 19   DENIES Plaintiffs’ Motion.
                                 20
                                 21   IT IS SO ORDERED.
                                 22
                                 23       Dated:     8/9/21
                                 24                                                          Virginia A. Phillips
                                                                                        United States District Judge
                                 25
                                 26

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